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                          Case No. 24-40259
                       ________________________
              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                    ________________________
                            Jeffrey Moats,
                                  Plaintiff-Appellant,
                                      v.
National Credit Union Administration Board, A Federal Administrative
 Agency; Todd M. Harper, In their official capacity as Members of the
 National Credit Union Administration Board; Kyle S. Hauptman, In
    their official capacity as Members of the National Credit Union
  Administration Board; Rodney E. Hood, In their official capacity as
Members of the National Credit Union Administration Board; Jennifer
 Whang, In her official capacity as an Administrative Law Judge and
                    Inferior Officer of the United States,
                                Defendants-Appellees.
                   _______________________________
           On Appeal from the United States District Court
        for the Southern District of Texas, Galveston Division
              Honorable Jeffrey V. Brown, District Judge
                           No. 3:23-cv-147
                  _______________________________
                 BRIEF OF APPELLANT JEFFREY MOATS
                  _______________________________

                                      ADITYA DYNAR
                                      MOLLY E. NIXON
                                      Pacific Legal Foundation
                                      3100 Clarendon Blvd., Suite 1000
                                      Arlington, VA 22201
                                      202.888.6881
                                      ADynar@pacificlegal.org
                                      MNixon@pacificlegal.org
                                      Counsel for Plaintiff-Appellant
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                     Certificate of Interested Persons
     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of 5th Cir. Rule

28.2.1 have an interest in the outcome of this case. These representations

are made in order that the judges of this Court may evaluate possible

disqualification or recusal.


   Appellant:                          Counsel for Appellant:

   Jeffrey Moats                       Aditya Dynar of Pacific Legal
                                       Foundation, Arlington, VA
   Jeffrey Moats                       Molly Nixon of Pacific Legal
                                       Foundation, Arlington, VA
   Appellees                           Counsel for Appellees:
   Todd Harper                         John Lewis of U.S. Department
                                       of Justice, Washington, DC
   Todd Harper                         Daniel Aguilar of U.S.
                                       Department of Justice,
                                       Washington, DC
   Todd Harper                         Joshua Salzman of U.S.
                                       Department of Justice,
                                       Washington, DC
   Kyle Hauptman                       John Lewis of U.S. Department
                                       of Justice, Washington, DC
   Kyle Hauptman                       Daniel Aguilar of U.S.
                                       Department of Justice,
                                       Washington, DC


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Kyle Hauptman                      Joshua Salzman of U.S.
                                   Department of Justice,
                                   Washington, DC
Rodney Hood                        John Lewis of U.S. Department
                                   of Justice, Washington, DC
Rodney Hood                        Daniel Aguilar of U.S.
                                   Department of Justice,
                                   Washington, DC
Rodney Hood                        Joshua Salzman of U.S.
                                   Department of Justice,
                                   Washington, DC
National Credit Union              John Lewis of U.S. Department
Administration Board               of Justice, Washington, DC
National Credit Union              Daniel Aguilar of U.S.
Administration Board               Department of Justice,
                                   Washington, DC
National Credit Union              Joshua Salzman of U.S.
Administration Board               Department of Justice,
                                   Washington, DC
Jennifer Whang                     John Lewis of U.S. Department
                                   of Justice, Washington, DC
Jennifer Whang                     Daniel Aguilar of U.S.
                                   Department of Justice,
                                   Washington, DC
Jennifer Whang                     Joshua Salzman of U.S.
                                   Department of Justice,
                                   Washington, DC

                                    /s/ Aditya Dynar
                                    ADITYA DYNAR
                                    Counsel for Plaintiff-Appellant

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                  Statement Regarding Oral Argument
      Appellant respectfully requests that the Court schedule oral

argument in this case. This case involves the validity of statutes
prohibiting district courts from deciding structural constitutional
questions.

      The Court has already granted the parties’ request to submit this
case alongside two other cases—Burgess and Ortega—to the same panel
for decision. Burgess v. Fed. Dep. Ins. Corp., No. 22-11172; Ortega v. Off.

of the Comp. of the Currency, No. 23-60617.
      Burgess v. Fed. Dep. Ins. Corp., 639 F. Supp. 3d 732, 741 (N.D. Tex.
2022), called the jurisdictional issue presented here “a matter of first

impression.” The court below (the Southern District of Texas) expressly
created an intra-circuit conflict with Burgess that this Court must now
resolve. ROA.439. Unlike Burgess, which arrives at this Court in a

preliminary posture, and Ortega, which is an appeal from the final
agency decision, this case presents jurisdiction as the only issue raised
on appeal. An oral argument would, therefore, aid the Court’s resolution

of the case.




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                            Glossary

ALJ            Administrative Law Judge

APA            Administrative Procedure Act

Edinburg       Edinburg Teachers Credit Union

FCUA           Federal Credit Union Act

FDIC           Federal Deposit Insurance Corporation

FRB            Board of Governors of the Federal Reserve System

FTC            Federal Trade Commission

NCUA           National Credit Union Administration
NCUAB          National Credit Union Administration Board
or Board

OCC            Office of the Comptroller of the Currency

OFIA           Office of Financial Institution Adjudication

PCAOB          Public Company Accounting and Oversight Board

ROA            Record on Appeal

SEC            Securities and Exchange Commission




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                                 Introduction
       The National Credit Union Administration seeks to try Jeffrey

Moats, the former CEO of the Edinburg Teachers Credit Union, for
breach of fiduciary duty and unjust enrichment before an Administrative
Law Judge who is unconstitutionally shielded from presidential removal.

Moats filed this action in federal court, arguing that, in addition to the
unconstitutional removal protections, the administrative proceeding
deprives him of his right to a jury trial and due process, and that

Congress violated the nondelegation doctrine by giving NCUA unguided
discretion to choose to bring the enforcement action in-house or in federal
court.

       The District Court did not reach the merits, however, because it
held that the Federal Credit Union Act expressly precluded the court’s
jurisdiction over all of Moats’s claims. That decision should be reversed.

The statutory provision the District Court relied on, 12 U.S.C.
§ 1786(k)(1), does not provide the clear statement Supreme Court
precedent demands to explicitly strip jurisdiction of constitutional

claims. Nor can it be read to strip jurisdiction implicitly.
       If this Court finds that the FCUA does somehow strip jurisdiction
of constitutional claims, such a reading would render the statute

unconstitutional as applied here because it would bar meaningful review
of Moats’s structural constitutional claim, which presents a “here-and-
now”      injury—subjection     to       an     unconstitutionally       structured
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decisionmaking process—a violation of his rights that will be “effectively
lost” if review is deferred until after the in-house agency proceeding is

over. Axon Enter., Inc. v. FTC, 598 U.S. 175 (2023).
     Regardless of how this Court reads the FCUA, the result is the
same: the Court must reverse and vacate the District Court’s decision

and judgment, and remand for the district court to reach the merits.
                        Jurisdictional Statement
     Plaintiff-Appellant Jeffrey Moats appeals from the opinion and

judgment of the Southern District of Texas dated April 9, 2024.
ROA.431–ROA.441. Moats filed a timely notice of appeal on April 17,
2024. ROA.446–ROA.448. This Court’s jurisdiction rests on 28 U.S.C.

§ 1291.
                             Questions Presented
 1. Whether the Federal Credit Union Act, 12 U.S.C. § 1786(k)(1), strips

    district courts of their 28 U.S.C. § 1331 jurisdiction to decide
    constitutional claims.
 2. If it does, whether such jurisdiction stripping as applied in this case

    is unconstitutional because it would result in the irremediable loss
    of the right not to be subject to an unconstitutionally structured
    decisionmaking process.




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                          Statement of the Case
     A.     The National Credit Union Administration

     Congress enacted the Federal Credit Union Act (FCUA), Pub. L. No.
86-354, 48 Stat. 1216 (1934), to regulate federal credit unions. 12 U.S.C.
§§ 1751–1795k. In 1970, Congress created the National Credit Union

Administration (NCUA), an independent agency in the executive branch,
and gave the regulatory power over federal credit unions to NCUA and
its Administrator. Pub. L. No. 91-206, 84 Stat. 49 (1970).

     NCUA’s Board (NCUAB or Board) comprises three members whom
the President appoints with the Senate’s advice and consent to staggered
terms. 12 U.S.C. §§ 1752a(b), 1752a(c). They are subject to the President’s

at-will removal power. ROA.100. The Board has comprehensive powers
to (1) make and (2) enforce federal law. 12 U.S.C. § 1766. As relevant
here, NCUA also has the power to initiate and decide “case[s]” against

CEOs of federal credit unions. 12 U.S.C. § 1786. In these cases, NCUA
has the power, alongside other powers, to impose civil penalties and order
lifetime industry bans. 12 U.S.C. § 1786.

     NCUA may “delegate” “any and all” of its “duties,” “authority,
power, or function[s]” to “such persons as it shall designate or employ, …
including   any    institution   operating       under     [NCUA’s]      general

supervision.” 12 U.S.C. § 1766(d). Further, pursuant to the Financial
Institutions Reform, Recovery and Enforcement Act and Dodd-Frank
Wall Street Reform and Consumer Protection Act, NCUA and three other
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banking agencies1 adopted a series of interagency agreements,
established the Office of Financial Institution Adjudication (OFIA), and

delegated their respective adjudicative functions to this pool of ALJs.
ROA.238.
     B.       Jeffrey Moats

     Plaintiff-Appellant Jeffrey Moats served as CEO of the Edinburg
Teachers Credit Union (Edinburg) for 25 years. ROA.431. Under his
leadership, Edinburg was always at or near the top of performance

metrics. ROA.199. Notwithstanding Edinburg’s excellent financial
condition,     the   Texas    Credit    Union        Department       placed       it   in
conservatorship in March 2021, appointing the NCUA as conservator.

ROA.200. NCUA fired Moats, seizing his personal property and
documents. ROA.200, ROA.431. NCUA eventually returned the property
and his retirement savings, though Moats has separately sued NCUA in

Texas state court for post-termination benefits he is owed. ROA.201.
     In      April   2023—two    years       after      Edinburg’s    placement         in
conservatorship and one day before the deadline to answer Moats’s state-

court complaint—NCUA served Moats with a Notice of Charges to
commence agency proceedings against him. ROA.201, ROA.432. The
Notice alleged that Moats breached fiduciary duties to Edinburg,


1 The Federal Deposit Insurance Corporation (FDIC), the Office of the

Comptroller of the Currency (OCC), and the Board of Governors of the
Federal Reserve System (FRB).
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unjustly enriching himself, and demanded $4 million in restitution, at
least $1 million in civil penalties, and an order prohibiting Moats for his

lifetime from serving as a director, officer, or otherwise participating in
the affairs of any insured depository institution. ROA.201.
     Appellee Jennifer Whang was designated as the OFIA ALJ to

preside over the administrative action. ROA.201. The administrative
matter remains stayed by agreement of the parties. ROA.201, ROA.432.
     C.    Proceedings in Federal Court

     Moats filed this suit in the Southern District of Texas against
NCUA, its board members, and ALJ Whang, seeking a declaration that
the administrative adjudication at NCUA/OFIA is unconstitutional. In

his first amended complaint, Moats asserted four claims: (1) OFIA’s ALJ
Whang is unconstitutionally shielded from removal with multiple layers
of removal protection, (2) administratively proceeding against Moats

deprives him of a jury trial, (3) administratively proceeding against
Moats deprives him of the due process of law, and (4) giving NCUA the
discretion to either bring in-house adjudicative actions or file suit in

federal court violates the nondelegation doctrine. ROA.195–ROA.211,
ROA.432.
     Moats moved for summary judgment on all claims. ROA.253. The

Defendants filed a cross-motion to dismiss and for summary judgment.
ROA.284. As relevant here, NCUA asserted that the case should be
dismissed because “Congress has expressly precluded district court
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jurisdiction over all claims, including constitutional ones, that may affect
a[n] NCUA proceeding.” ROA.433. The Defendants relied on 12 U.S.C.

§ 1786(k)(1), which provides:

     The Board may in its discretion apply to the United States
     district court, or the United States court of any territory
     within the jurisdiction of which the principal office of the
     credit union is located, for the enforcement of any effective
     and outstanding notice or order issued under this section or
     section 1790d of this title, and such courts shall have
     jurisdiction and power to order and require compliance
     therewith. However, except as otherwise provided in this
     section or section 1790d of this title, no court shall have
     jurisdiction to affect by injunction or otherwise the issuance
     or enforcement of any notice or order under this section or
     section 1790d of this title or to review, modify, suspend,
     terminate, or set aside any such notice or order.

The court concluded that this section constitutes an “explicit bar to all of

Moats’s claims, constitutional or otherwise.” ROA.439. It therefore
dismissed the case with prejudice, ROA.441, without reaching the merits.
Moats appealed. ROA.446.

     The District Court’s decision acknowledged that it created an intra-
circuit conflict. See ROA.439. In Burgess v. FDIC, the Northern District
of Texas considered a statute substantively identical to § 1786(k)(1) here

and held that it did not explicitly or implicitly strip the court of
jurisdiction over the plaintiff’s constitutional claims. 639 F. Supp. 3d 732
(N.D. Tex. 2022), pending on appeal, No. 22-11172 (5th Cir.). Due to the


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unresolved intra-circuit conflict, the Court assigned this case and
Burgess, No. 22-11172, to the same panel. Doc. 29-2. A third case, Ortega
v. Office of the Comptroller of the Currency, No. 23-60617, presents the
same jurisdictional question and was also assigned to the same panel.
                             Standard of Review

     This Court reviews “the district court’s dismissal for lack of subject
matter jurisdiction de novo.” Orr v. Merit Systems Protection Board, 379
F. App’x 333, 335 (5th Cir. 2010) (citing Williams v. Dallas Area Rapid

Transit, 242 F.3d 315, 318 (5th Cir. 2001)). The issue of subject-matter
jurisdiction cannot be waived, and federal courts are duty-bound to
examine the basis of subject-matter jurisdiction at all stages. Reule v.

Jackson, 114 F.4th 360, 365 (5th Cir. 2024). In an appeal from a grant of
a motion to dismiss, this Court “accept[s] as true all well-pleaded facts
and construe[s] the complaint in the light most favorable to the plaintiff.”

Norsworthy v. Houston Indep. Sch. Dist., 70 F.4th 332, 336 (5th Cir.
2023).
                          Summary of the Argument

     Nothing in the FCUA expressly or implicitly strips federal district
court jurisdiction to decide structural constitutional claims. The Supreme
Court has enforced express bars on jurisdiction when a statute clearly

references an otherwise applicable basis of jurisdiction. See Shalala v.
Illinois Council on Long Term Care, Inc., 529 U.S. 1, 10 (2000) (stating
that statute providing that “‘no action … shall be brought under section
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1331 or 1346 of title 28’” “plainly bars § 1331 review” (simplified)). The
FCUA says nothing about the 28 U.S.C. § 1331 district court jurisdiction

Moats invoked in his complaint. And while the Supreme Court has held
that a “special statutory review scheme” could implicitly preclude district
court jurisdiction over challenges to agency action, 12 U.S.C. § 1786(k)

fails each part of the three-factor implicit jurisdiction stripping test most
recently applied by the Supreme Court in Axon, which looks at whether
the statute’s review scheme would foreclose all “meaningful” judicial

review, whether the claims for which review is sought are “wholly
collateral” to the statute’s review provisions, and whether the claim is
“outside the agency’s expertise.” 598 U.S. at 186.

     If this Court finds that the FCUA nevertheless precludes district
courts from deciding Moats’s structural constitutional claims, such a bar
would violate Moats’s right not to be subject to an unconstitutionally

structured proceeding. See Webster v. Doe, 486 U.S. 592, 603 (1988)
(noting that a “serious constitutional question … would arise if a federal
statute were construed to deny any judicial forum for a colorable

constitutional claim” (citation omitted)); Axon, 598 U.S. at 191 (holding
that appellate judicial review of agency respondent’s “structural
constitutional claims would come too late to be meaningful”).

     Accordingly, the Court should reverse and vacate the District
Court’s decision and judgment, and remand for the District Court to
reach the merits.
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                                 Argument
I.    The FCUA does not expressly or impliedly strip federal district
      court jurisdiction to decide structural constitutional claims
      Congress tracked Article III, § 2’s words and vested federal district
courts with “original jurisdiction” to decide “all civil actions arising under
the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331

(emphasis added). Courts have long construed limitations on jurisdiction
narrowly, requiring Congress to speak with “irresistible clearness.”
United States v. Fisher, 6 U.S. 358, 390 (1805).
      With respect to constitutional claims, the Supreme Court has held
that Congress can strip jurisdiction in two specific ways. First, it can do
so expressly through a clear statement demonstrating that it intended to

remove the entirety of district courts’ jurisdiction granted by other
statutes. See, e.g., Shalala, 529 U.S. at 10. Second, a statute may be found
to implicitly strip courts of jurisdiction, but before finding such a bar,

courts must consider if doing so would bar meaningful review of claims
that are wholly collateral to the agency’s review process and outside of
the agency’s expertise. Axon, 598 U.S. at 185. Congress neither explicitly

nor implicitly stripped district court jurisdiction over Moats’s claims.
      A.    The FCUA cannot be read to expressly strip jurisdiction

            1. The FCUA references neither 28 U.S.C. § 1331 jurisdiction
               nor constitutional claims

      In Shalala, the Supreme Court held that 42 U.S.C. § 405(h) “clearly”
and “plainly bars [28 U.S.C.] § 1331 review … irrespective of whether the

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individual challenges the agency’s denial on evidentiary, rule-related,
statutory, constitutional, or other legal grounds.” 529 U.S. at 10. In so

concluding, the Supreme Court found dispositive the clear language of 42
U.S.C. § 405(h) providing that “[n]o action … shall be brought under
section 1331 or 1346 of Title 28[.]” Id.

     There is no express preclusion here because the FCUA does not
even mention district courts’ original jurisdiction under 28 U.S.C. § 1331.
12   U.S.C.    §   1786(k)(1).   Nor    does   Section    1786(k)(1)     mention

constitutional claims, which Congress surely knew how to do. See, e.g.,
8 U.S.C. § 1252(b)(9) (“Judicial review of all questions of law and fact,
including interpretation and application of constitutional and statutory

provisions, … shall be available only in judicial review of a final order
under this section.” (emphasis added)).
     Indeed, Congress demonstrated its ability to explicitly reference

constitutional provisions—when it meant to—in the FCUA itself. See 12
U.S.C. § 1785(g)(1) (“notwithstanding any State constitution or statute
which     is   hereby     preempted”)        and    12   U.S.C.      § 1787(e)(1)

(“Notwithstanding any other provision of Federal law, the law of any
state, or the constitution of any State, the Board … shall be subrogated
to all rights of the accountholder[.]”). That it did not explicitly do so in

Section 1786(k)(1) is, accordingly, all the more apparent.




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            2. Fundamental principles and canons of interpretation
               support a construction that retains district court
               jurisdiction over Moats’s claims

      Reading Section 1786(k)(1) to treat structural claims differently
than nonstructural claims is not only compelled by the absence of a clear

statement, but such a reading is also otherwise consistent with the text.
      For example, 12 U.S.C. § 1786(k)(1) thrice repeats the phrase “this
section [1786] or section 1790d of this title.” If Moats’s Article II claim is

valid—and the Supreme Court’s precedent compels such a conclusion on
the merits (ROA.204–ROA.205)—then the NCUA “notice or order” is not
issued “under this section or section 1790d,” because no law can authorize

“the issuance or enforcement of any notice or order” through an
unconstitutional proceeding. 12 U.S.C. § 1786(k)(1); see Almeida-
Sanchez v. United States, 413 U.S. 266, 272 (1973) (“[N]o Act of Congress
can authorize a violation of the Constitution.”). Rather, Section
1786(k)(1) is best construed to cover claims that relate to “any specific
substantive decision” of the agency or “to the commonplace procedures

agencies use to make such a decision,” which are nonstructural claims
within an otherwise valid proceeding that would typically be reviewed
after-the-fact in an appeal to the circuit court from the final agency

decision. Axon, 598 U.S. at 189.
      Furthermore, 12 U.S.C. § 1786(k)(1) in its current form was enacted
in 1970. Pub. L. No. 91-468, 84 Stat. 1009 (1970). But Congress amended

28 U.S.C. § 1331 in 1976 and 1980, solidifying its intent to vest district

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courts with original jurisdiction to decide all cases arising under the
Constitution. Pub. L. No. 94-574, 90 Stat. 2721 (1976); Pub. L. No. 96-

486, 94 Stat. 2369 (1980). The later-in-time enactment of what is the
current 28 U.S.C. § 1331 trumps the earlier-in-time enactment of what is
currently 12 U.S.C. § 1786(k)(1). See Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 327 (2012) (Between two
legislative enactments, “the last in order of time shall be preferred to the
first.”) (quoting The Federalist No. 78). That reading would also be

consistent with the Supreme Court’s understanding of the 1976 version
of Section 1331, through which it held that Congress “confer[red]
jurisdiction on federal courts to review agency action, regardless of

whether the [earlier in time] APA of its own force may serve as a
jurisdictional predicate.” Califano v. Sanders, 430 U.S. 99, 105 (1977).
Section 1786(k)(1), then, may be read to preclude district courts enjoining

NCUA’s issuance or enforcement of the notice of charges NCUA served
on Moats, but Moats has not asked any federal court for a stay of
administrative proceedings.2 Nor has Moats asked a court to “review,

modify, suspend, terminate, or set aside any [NCUA/OFIA] notice or
order.” 12 U.S.C. § 1786(k)(1). Rather, Moats has asserted that the




2 OFIA proceedings are currently stayed by the agreement of the parties,

not by operation of Section 1786(k)(1). See, e.g., ROA.235 (OFIA order
granting joint motion to stay administrative proceedings).
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administrative    adjudication   is     structurally   invalid    under     the
Constitution. ROA.205 (¶ 36).

     And, even if the Court still finds that “[i]t would overstate matters
to say that the foregoing analysis demonstrates beyond question that
[Moats] may invoke general federal-question jurisdiction,” “[a]ny

remaining doubt [should be] resolved … by the longstanding canon that
judicial review of executive action will not be cut off unless there is
persuasive reason to believe that such was the purpose of Congress.”

Shalala, 529 U.S. at 43 (Thomas, J., dissenting from denial of jurisdiction
even when statute explicitly barred § 1331 jurisdiction) (citations
omitted).

     Finally, the Court should reject the District Court’s sweeping
reading of Section 1786(k)(1) because it would force the Court to render
a decision on its constitutionality, as explained in Part II, infra. See

Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Const. Trades
Council, 485 U.S. 568, 575 (1988) (“[W]here an otherwise acceptable
construction of a statute would raise serious constitutional problems, the

Court will construe the statute to avoid such problems unless such
construction is plainly contrary to the intent of Congress.”); Bowen v.
Mich. Acad. of Family Physicians, 476 U.S. 667, 681 n.12 (1986) (stating
that a statutory scheme which operates to deny meaningful judicial
resolution of a constitutional question would itself raise “serious
constitutional question[s]”).
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     No one disputes that 12 U.S.C. § 1786(k)(1) does not specifically
mention that the jurisdictional bar encompasses constitutional claims or

specifically divests district courts of 28 U.S.C. § 1331 jurisdiction over
such claims. Giving the section such a reading is not required by the text,
would flout the clear statement requirement, and would raise serious

constitutional questions, which we assume Congress did not intend to do
sub-silentio. This Court should hold that the District Court’s construction
is not the “best reading” of the statute and reverse. Loper Bright Enters.

v. Raimondo, 144 S.Ct. 2244, 2266 (2024).
     B. The FCUA does not impliedly strip district court jurisdiction

     The Supreme Court has also held that it is possible to strip 28
U.S.C. § 1331 jurisdiction implicitly through a “special statutory review
scheme” in which Congress typically provides for “review in a court of

appeals following the agency’s own review process,” divesting district
courts of their ordinary jurisdiction over the covered cases. Axon, 598
U.S. at 185–86. Critically, however, the Court held that such statutory

schemes “d[o] not necessarily extend to every claim concerning agency
action.” Id. (applying the factors laid out in Thunder Basin Coal Co. v.
Reich, 510 U.S. 200, 207 (1994)). The Supreme Court’s analysis in Axon
resolves this case; the FCUA cannot be read to implicitly strip the district




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courts of jurisdiction over Moats’s wholly collateral, structural
constitutional claims.3

     In Axon, as here, the petitioners “sued in district court prior to an
ALJ decision” and “charged that some fundamental aspect of the
[respective agency’s] structure violates the Constitution; that the

violation made the entire proceeding unlawful; and that being subjected
to such an illegitimate proceeding causes legal injury (independent of any
rulings the ALJ might make).” Id. at 182. As here, the Axon petitioners

“premised jurisdiction on district courts’ ordinary federal-question
authority … under 28 U.S.C. § 1331.” Id.; ROA.197.
     The Axon Court applied “three considerations” to decide “whether

the particular claims brought were ‘of the type Congress intended to be
reviewed within this statutory structure.’” 598 U.S. at 186 (quoting
Thunder Basin, 510 U.S. at 208).4

3 The court below did not analyze implicit preclusion because it held that

Section 1786(k)(1) expressly deprives it of jurisdiction to decide Moats’s
structural constitutional claims. ROA.439.
4 While this Circuit applied the Thunder Basin factors to an FDIC
provision very similar to 12 U.S.C. §1786(k) in Bank of Louisiana v.
FDIC, 919 F.3d 916 (5th Cir. 2019), that implicit preclusion analysis did
not have the benefit of the Supreme Court’s 2023 opinion in Axon, which
runs counter to Bank of Louisiana’s analysis of all three factors. Any
effort by NCUA to rely on this Circuit’s implicit preclusion analysis in
that case, then, cannot stand. And the District Court was correct in its
conclusion that a statement in Cochran v. SEC, 20 F.4th 194 (5th Cir.
2021) (en banc), that Bank of Louisiana “held that district court

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      First, the Court considered whether district court jurisdiction
would “foreclose all meaningful judicial review of the claim.” Id.

(simplified). This factor “recognizes that Congress rarely allows claims
about agency action to escape effective judicial review.” Id. While
disclaiming any “newfound enthusiasm for interlocutory review,” the

Court focused on Axon’s assertion of a “‘here-and-now’ injury of
subjection to an unconstitutionally structured decisionmaking process …
irrespective of its outcome, or of other decisions made within [that

process].” Id. at 192. The Court analogized its approach to such structural
claims to doctrines of immunity, in which the complaining party has a
right “not to stand trial or face other legal process.” Id. (emphasis added,

citation omitted). As with such immunity claims, the Axon petitioners
would “lose their rights not to undergo the complained-of agency
proceedings if they cannot assert those rights until the proceedings are

over.” Id.
      Second, the Court considered whether the claim “was wholly
collateral to the [statute’s] review provisions.” Id. at 185 (simplified). The

“second and third [factors] reflect in related ways the point of special
review provisions—to give the agency a heightened role in the matters it
customarily handles, and can apply distinctive knowledge to.” Id. at 186.

The Court easily found Axon’s claims to be collateral, “object to the

jurisdiction was explicitly divested” was dicta and not binding. ROA.435–
ROA.436; see also Burgess, 639 F. Supp. 3d at 741.
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Commissions’ power generally, not to anything particular about how that
power was wielded.” Id. at 193.

     The Court was similarly dismissive of the government’s arguments
on the third factor, whether Axon’s claim was outside the agency’s
expertise. It held that its precedent “could hardly be clearer. Claims that

tenure protections violate Article II … raise ‘standard questions of
administrative’ and constitutional law, detached from ‘considerations of
agency policy.’” Id. at 194 (citing Free Enter. Fund v. PCAOB, 561 U.S.

477, 491 (2010)).
     The Axon Court, accordingly, held that neither the SEC nor the
FTC’s    agency     adjudication   statutes    “displace[d]     district     court

jurisdiction” to decide “constitutional claims.” Id. at 185.
     The Axon analysis is equally applicable to the structural claims
brought by Moats here. First factor: As with Axon, the availability of

appellate review after final agency decision does not address the
“problem … stemming from the interaction between [Moats’s] alleged
injury and the timing of review.” Id. at 191. The injury Moats alleges is

the “here-and-now injury” of “being subjected to unconstitutional agency
authority—a proceeding by an unaccountable ALJ,” with no possibility of
a trial by jury. Id. (simplified); ROA.142–ROA.146 (¶¶ 35, 41, 46, 49–52).

That injury “is impossible to remedy once the proceeding is over, which
is when appellate review kicks in.” Axon, 598 U.S. at 191. Moats’s claim
is not about any eventual order the ALJ or NCUA might issue, it “is about
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subjection to an illegitimate proceeding, led by an illegitimate
decisionmaker” without a jury—a “grievance” about which “the court of

appeals can do nothing [since a] proceeding that has already happened
cannot be undone.” Id.5 So, the Court should conclude, as Axon did, that
“[j]udicial review of [Moats’s] structural constitutional claims would come

too late to be meaningful.” Id.
     Second factor: Also as in Axon, Moats “challeng[es NCUA’s and
OFIA’s] power to proceed at all, rather than actions taken in the agency

proceedings.” Id. at 192. His structural constitutional claims are,
accordingly, “collateral to any [NCUA or OFIA] orders or rules from
which review might be sought.” Id. at 193 (simplified). The Court should

conclude, as Axon did, that this factor also goes in Moats’s favor.
     Third factor: Finally, the structural constitutional claims presented
here, like those presented by the Axon plaintiffs, “raise standard

questions of administrative and constitutional law, detached from

5 Moats’s ALJ-removal-protection claim obviously aligns most closely
with the claims considered in Axon, but the Supreme Court’s decision last
term in SEC v. Jarkesy reinforces Moats’s jury trial right. 144 S.Ct. 2117,
2128–31 (2024). NCUA seeks $1 million in penalties alleging Moats
committed fraud. ROA.214; ROA.230. In such suits, “adjudication by an
Article III court is mandatory.” Jarkesy, 144 S.Ct. at 2132. Congress has
not authorized jury trials in NCUA/OFIA proceedings, nor could it,
because the power to conduct jury trials is an “essential attribute of
judicial power [that is] reserved to Article III courts.” CFTC v. Schor, 478
U.S. 833, 851 (1986); see also Sheldon Whitehouse, Restoring the Civil
Jury’s Role in the Structure of our Government, 55 Wm. & Mary L. Rev.
1241, 1249, 1266 (2014).
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considerations of agency policy.” Id. at 194 (simplified). Moats’s claims
are “distant from [NCUA’s and OFIA’s] competence and expertise”

because the agencies know “nothing special about the separation of
powers.” Id. Indeed, “agency adjudications are generally ill suited to
address structural constitutional challenges” like those maintained here.

Carr v. Saul, 593 U.S. 83, 92 (2021). As in Axon, the third factor weighs
in favor of finding no jurisdictional bar.
      Since all three Thunder Basin factors “point … toward allowing

district court review” of Moats’s structural constitutional claims, they are
not “of the type” that 12 U.S.C. § 1786(k)(1)’s second sentence precludes
district courts from reaching. Axon, 598 U.S. at 195–96.

II.   The District Court’s construction of the FCUA renders it
      unconstitutional as applied

      If this Court finds that the FCUA does strip district courts’
jurisdiction over structural constitutional claims, such a provision is

unconstitutional as applied here because it would deny Moats all
meaningful review of his structural constitutional claims.6




6 Again, Moats believes the denial of his Seventh Amendment right to a

jury trial also presents a structural claim. Cf. Wellness Int’l Network,
Ltd. v. Sharif, 575 U.S. 665, 707 n.1 (2015) (Thomas, J., dissenting)
(“There is some dispute whether the guarantee of a jury trial protects an
individual right, a structural right, or both[.]”). But this Court need not
decide that issue, given that Moats’s Article II removal-power claim so
directly mirrors a claim considered by the Supreme Court in Axon.
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     A. Precluding meaningful judicial review raises constitutional
        concerns

     In Webster v. Doe, the Supreme Court reaffirmed its previous

holdings that “where Congress intends to preclude judicial review of
constitutional claims its intent to do so must be clear.” 486 U.S. at 603.
And its reason for requiring “this heightened showing” was “to avoid the

‘serious constitutional question’ that would arise if a federal statute were
construed to deny any judicial forum for a colorable constitutional claim.”
Id.; see also Bowen, 476 U.S. at 681 n.12 (stating that a statutory scheme
which operates to deny meaningful judicial resolution of a constitutional
question would itself raise “serious constitutional question[s]”). The
Court clarified in Elgin v. Dep’t of Treasury that Webster’s “heightened

standard” does not apply to statutes that “provid[e] for meaningful
review of [a plaintiff’s] claims.” 567 U.S. 1, 9–10 (2012). Accordingly, we
know that a statute that denied meaningful review of a plaintiff’s

constitutional claims would raise a serious constitutional question.
     The Court’s decision in Axon resolves that question of “meaningful
review,” as far as Moats’s structural claims are concerned. Axon was in

the same position at Moats, seeking district court review of its claim that
it could not be subjected to an unlawful adjudication. The Supreme Court
explained: “Suppose a court of appeals agrees with Axon, on review of an

adverse FTC decision, that ALJ-led proceedings violate the separation of




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powers. The court could of course vacate the FTC’s order. But Axon’s
separation-of-powers claim is not about that order[.]” 598 U.S. at 191.

     The Supreme Court highlighted the crux of the issue in
emphasizing that “Axon would have the same claim had it won before the
agency.” Id. When the claim alleges an “illegitimate proceeding, led by an

illegitimate decisionmaker,” “as to that grievance, the court of appeals
can do nothing: A proceeding that has already happened cannot be
undone.” Id. As such, and as the Court held in Axon, “[j]udicial review of

[an agency respondent’s] structural constitutional claims would come too
late to be meaningful.” Id. The District Court’s conclusion that Moats’s
“claims may be ‘meaningfully addressed in the Court of Appeals’” on

appeal from the final NCUA decision is in direct conflict with the Court’s
reasoning in Axon. ROA.438.
     If this Court reads the FCUA to strip jurisdiction over structural

constitutional claims, the result is that Moats would not be able to obtain
meaningful review of his claims. That outcome directly implicates the
“serious constitutional question” the Supreme Court avoided in Webster,

Elgin, and Axon. Constitutional avoidance, therefore, counsels in favor of
district court jurisdiction here.




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     B. The Constitution cannot be read to deny a remedy where there
        is a right

     The Supreme Court has held that Congress can only “decid[e] what

cases the federal courts have jurisdiction to consider” “within
constitutional bounds.” Bowles v. Russell, 551 U.S. 205, 212 (2007); see
also Bank Markazi v. Peterson, 578 U.S. 212, 227–28 (2016) (explaining
that Congress may not regulate federal court jurisdiction in an
unconstitutional manner).
     Article III, § 1, vests all of the federal government’s judicial power

in the “supreme Court and such inferior Courts as the Congress may from
time to time ordain and establish.” Under Article III, constitutional cases
must be decided in some federal court. While Congress can strip

jurisdiction from district courts, it cannot wrest all constitutional claims
from all federal courts. See Steven G. Calabresi & Gary S. Lawson, The
Unitary Executive, Jurisdiction Stripping, and the Hamdan Opinions: A
Textualist Response to Justice Scalia, 107 Colum. L. Rev. 1002, 1005
(2007); Akhil Reed Amar, America’s Constitution: A Biography 226–29
(2006).

     Congress is “bound to create some inferior courts, in which to vest
all that jurisdiction which, under the constitution, is exclusively vested
in the United States, and of which the supreme court cannot take original

cognizance.” Martin v. Hunter’s Lessee, 14 U.S. 304, 331 (1816). Congress
“might establish one or more inferior courts,” and “[Congress] might


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parcel out the jurisdiction among such courts, from time to time, at
[Congress’s] own pleasure.” Id. But, that means, “the whole judicial

power of the United States should be, at all times, vested either in an
original or appellate form, in some courts created under [the
Constitution’s] authority.” Id.; see also The Federalist No. 82, at 556

(Hamilton) (Cooke ed. 1961) (“[A]ll causes of the specific classes” named
in Article III “shall, for weighty public reasons, receive their original or
final determination in the courts of the Union.”).

     As explained above, if the FCUA deprives district courts of the
jurisdiction to hear Moats’s claim that the NCUA’s adjudication is
unconstitutional, his right not to be subject to an unconstitutionally

structured decisionmaker is “effectively lost” because “review [would be]
deferred until after trial.” Axon, 598 U.S. at 192. Retrospective or after-
the-fact relief for structural constitutional violations is materially

different than prospective or before-the-fact relief—or even other
constitutional claims—because structural claims cannot be remedied
once they have occurred. Axon recognized, correctly, that retrospective

relief “come[s] too late to be meaningful.” Id. at 191.7


7 There is also the additional requirement for seeking retrospective relief:

plaintiffs must show “compensable harm.” Collins v. Yellen, 594 U.S. 220,
259 (2021). That is not a requirement for prospective relief. Given Collins,
the only viable path to meaningful judicial relief for structural
constitutional harms is for federal-court plaintiffs like Moats to seek
prospective relief. See Cochran v. SEC, 20 F.4th 194, 233 (5th Cir. 2021)

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     While Congress has latitude to “parcel out” jurisdiction among the
courts, the “whole judicial power of the United States should be, at all

times, vested either in an original or appellate form, in some courts
created under its authority.” Martin, 14 U.S. at 331. If the FCUA is read
to preclude an ex ante remedy (the only meaningful remedy, according to

Axon) for a violation of Moats’s structural claim, then Congress has
barred the judicial power from extending to a constitutional case or
controversy. Denying meaningful relief for a constitutional claim,

properly and timely asserted, would put to the test Chief Justice John
Marshall’s reflection that “[t]he government of the United States has
been emphatically termed a government of laws, and not of men. It will

certainly cease to deserve this high appellation, if the laws furnish no
remedy for the violation of a vested legal right.” Marbury v. Madison, 5
U.S. 137, 163 (1803) (quoting 3 William Blackstone, Commentaries on

the Laws of England 23 (“[E]very right, when withheld, must have a
remedy, and every injury its proper redress.”)).
     In sum, construing FCUA’s statutory scheme to bar Moats’s claims

would render it unconstitutional as applied. This Court can and should
“avoi[d] the ‘serious constitutional question’ that would arise if [it]


(en banc) (Oldham, J., concurring), aff’d, sub nom. Axon Enter., Inc. v.
FTC, 598 U.S. 175 (2023) (explaining that after Collins, plaintiffs with
meritorious structural constitutional claims “may often be left without
any remedy if they are forced to wait until after enforcement proceedings
conclude”).
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construed [the FCUA] to deny a judicial forum for constitutional claims”
and adopt the better reading put forward in Part I. Bowen, 476 U.S. at

681 n.12.
                               Conclusion
     The Court should hold that the Federal Credit Union Act does not

prohibit district courts from deciding structural constitutional claims
about the validity of NCUA/OFIA adjudication before the pending
adjudication occurs. Alternatively, the Court should hold that if the

Federal Credit Union Act precludes jurisdiction over such claims, such a
bar on the federal courts’ exercise of Article III judicial power is
unconstitutional as applied here. Either way, the Court should reverse

and vacate the District Court’s decision and judgment, and remand for
the District Court to reach the merits of Moats’s claims.

     DATED: November 27, 2024.
                                       Respectfully submitted,
                                      /s/ Aditya Dynar
                                      ADITYA DYNAR
                                      MOLLY E. NIXON
                                      Pacific Legal Foundation
                                      3100 Clarendon Blvd., Suite 1000
                                      Arlington, VA 22201
                                      Telephone: 202.888.6881
                                      ADynar@pacificlegal.org
                                      MNixon@pacificlegal.org
                                      Counsel for Plaintiff-Appellant



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                                       /s/ Aditya Dynar
                                       ADITYA DYNAR
                                       Counsel for Plaintiff-Appellant




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                                        ADITYA DYNAR
                                        Counsel for Plaintiff-Appellant




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